LJC
                        UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              SOUTHERN DIVISION

                                     No.1: 15-CR- QQ- I t=Lu)
                                    . No. "]: 15-d2.-Q0-2 FLL()


UNITED STATES OF AMERICA                                   )
                                                           )
                v.                                         )         I N D I C T ME N T
                                                           )
RONNIE MORGAN            I                                 )
KENDRICK ALLEN BURNS,                                      )

        The Grand Jury charges that:

                                               COUNT ONE

                                              CONSPIRACY
                                                                                                     I
        Beginning in or about 2010, the exact date being unknown to
                                                                                                     I
the Grand Jury,                and continuing up to on or ,about February 15,

2015,    in the Eastern District of North Carolina, the                                   defendant~,

RONNIE     MORGAN             and   KENDRICK      ALLEN          BURNS,      dl.d       ·
                                                                                    know1ngly       Id
                                                                                                   an

intentionally combine, conspire, confederate and agree with e+h

other and other persons, known and unknown to the Grand Jury,                                       ~o


knowingly        and          intentionally      distribute            and    possess       with    the
                                                                                                    I
intent     to        distribute          a    mixture          and   substance       containing ! a

detectable           amount         of    cocaine         and    a    mixture       and     substadce

containing           a       detectable      amount       of    cocaine      base   (crack) ,      bdth

Schedule II controlled substances, contrary to the provisions of

Title 21, United States Code, Section 841 (a) (1) .



                                                      1

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    Quantity of Controlled Substances Involved in the Conspiracy Ii
                                                                 !
      With respect to the defendant, RONNIE MORGAN, the amount df
                                                                                                                          I
cocaine      involved         in    the       conspiracy        attributable                to        him    as la
                                                                                                                       I
                                                                                                             .         I
result of his own conduct, and the conduct of other                                             conspirato~s
                                                                               .                .                         I
reasonably foreseeable to him,                     is five           (5)       kilograms or more qf

a   mixture       and        substance         containing            a        detectable             amount           Jf
                                                                                                      I
cocaine,      a    Schedule         II     controlled substance,                         in violation of

Title 21, United States Code, Section 841(b) (1) (A).

       With respect to the defendant, RONNIE MORGAN, the amount ~f

cocaine base           (crack)      involved in the conspiracy attributable io

him as a         result of his own conduct,                         and the conduct o£ other
                                                                                                                      I
                                                                                                      . .             I
conspirators reasonably foreseeable to him,                                        i$ twenty-eight (21)

grams or more of a mixture and substance containing a detectable
                                                                          .                                           I .
amount      of     cocaine         base        (crack) ,        a     Schedule             II        controlled
                                                                                                         .           .I
substance, in violation of Title 21, United States Code, Sect10n
                                                                                                                      I
8 41 (b) ( 1 ) (B) .
                                                                                                                 .    I
       With respect            to the defendant,                    KENDRICK ALLEN BURNS,                            tfue
                                                                                                                      I
amount      of    controlled             substances        involved                 in    the        conspira?y
                                                                                                                      !
                                                                                                                      i

attributable           to him as          a    result      of       his       own conduct,              and the
                                                                                                                      1.
conduct of other conspirators reasonably foreseeable' to him,                                                         1s
                                                                                                                      I
a   quantity of          a    mixture         or substance containing. a                             detectable

amount      of    cocaine          and    a    mixture      and          substance          containing                        a

detectable        amount       of        cocaine    base        (crack),             both           Schedule          II



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controlled substances,        in violation of Title 21,                   United States

Code, Section 841(b) (1) (C).                                                                I
                                                                                          . I
                                                                                           • I
       All in violation of Title 21,             United States Code,                 Sectlon

846.                                                                                         I
                                    COUNT TWO

       On or· about     August    30,   2011,    in    the    Eastern District Jf

North Carolina,       the defendant,     RONNIE MORGAN,          did knowingly ald

intentionally distribute a          quantity of a         mixture and substanle
                                                                                             I
containing     a     detectable    amount       of    cocaine,        a    Schedule         II

controlled substance,       in violation of            Title    21,       United Statls

Code, Section 841 (a) (1) .

                                   COUNT THREE

        On or about September 7,         2011,       in the Eastern District 0f
                                                                                I
North Carolina,       the defendant,. RONNIE MORGAN,             did knowingly ahd

intentionally distribute a          quantity of a         mixture and substanbe
                                                                                            I
containing     a     detectable    amount       of    cocaine,        a    Schedule         II
                                                                                            I
controlled substance,       in violation of            Title    21,       United States

Code, Section 841(a) (1).
                                                                                            I
                                   COUNT FOUR .          h                   .        .     I ..
        On or about September 22,        2011,       1n t e Eastern D1str1ct of

No~th    Carolina,    the defendant,     RONNIE MORGAN,          did knowingly ald
                                                                                 .          I
intentionally distribute a          quantity of a            mixture and         substan~e


containing     a     detectable    amount       of    cocaine,        a    Schedule         ~I




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                                                                                                          I

                                                                                                          I
                                                                                                          I

controlled substance,               in violation of Title                     21,        United Stat~s
                                                                                                          I

Code, Section 841(a) (1).

                                             COUNT FIVE                                                   I

     On or a b out Octob er 19,                  2011,         ·
                                                               1n t h e Eastern D1str1ct
                                                                                 ·   ·   ··o              If
North Carolina,         the defendant,               RONNIE MORGAN,            did knowingly aJd

intentionally distribute a quantity of a mixture and substande
                                                                                                          I
containing       a    detectable             amount       of        cocaine,        a        Schedule     ]I

controlled substance,               in violation of Title                     21,       United StatJs

Code; Section 841(a) (1).
                                    (




                                              COUNT SIX

     On or about June 12, 2013, in the Eastern District of North
                                                                                                          i
Carolina,     the      defendants,             RONNIE          MORGAN      and      KENDRICK        ALL~N


BURNS,     aiding      and     abetting           each         other,        did        knowingly        add
                                                                                                          I
intentionally distribute a quantity of a mixture and substance
                                                             I

containing       a    detectable             amount       of        cocaine      base         (crack),        a

Schedule    II       controlled         substance,             in    violation           of    Title     21,

United   States        Code,        Section       841(a) (1)           and     Title          18,   UnitJd

States Code, Section 2.
                                                                                                          I
                                                                                                          I
                                             COUNT SEVEN                                                  I




     on or about February 14,                     2015,         in the Eastern District                   tf
North Carolina,         the defendant,               RONNIE MORGAN,            did knowingly and
                                                                                                          I
intentionally possess               with       the       intent       to   distribute           five     (5)

kilograms     or      more     of       a    mixture       and        substance          containing IIa
                                                                                                          i
detectable       amount        of           cocaine,       a        Schedule            II     controlled

                                                     4

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                                                                                  '
substance, in violation of Title 21, United States Code, Section

841 (a) (1).


                                       COUNT EIGHT

        On or about February 14,            2015,     in the Eastern District of

North     Carolina,         the     defendant,   RONNIE    MORGAN,    having    be,n

convicted      of    a     crime    punishable   by    imprisonment   for   a   te~m


exceeding one        (1)    year,    did knowingly possess,       in and affectidg

commerce,      a    firearm,       in violation of      Title   18,

Code, Sections 922(g) (1) and 924.



                                                                                  II




               [remainder of page left blank intentionally]




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                         ALLEGATION OF PRIOR CONviCTION


       For    purposes        of     Title    21,       United       States       Code,       Sectiols
                                                 .                                             - .   Id
84 1 (b)   and 85 1 ,   t h e d e f en d ant hereln,            RONNIE MORGAN,               commltte

the violatiohs alleged in the Indictment after at least one                                         (1)
prior conviction for a felony drug offense,                                as defined in Title

21, United States Code, Section 802(44), had become final.
                                                                                                      I
                                                                                                      i
                                     FORFEITURE NOTICE


The   defendants        are    given       notice        that    upon       conviction of           td~
controlled . substance             offenses        alleged      in    this        Indictment,       tJe

defendants. shall forfeit to the United States, pursuant to TitJe

21,    United     States       Code,       Section        853,       any        and    all     of
                                                                                              the
                                                                                                      I

                                                                                                I
defendant's interest in property· constituting·,                                or derived from,.
                                                                                                      I
proceeds obtained,            directly or indirectly,                      as a       result of ttie
                                                                       .                              I
said violations and any property used,                           or lntended to be used,

in , any     manner      or        part,     to     commit,      or        to     facilitat~ tJe
commission of the said violations, or any property traceable jo

such property.          Further, as a             res~lt of the foregoing offense jn
Count Eight of          the    Indictment,             the defendant shall               forfeit     t1 o

the United States any firearms                         and ammunition involved in th!e                    1




offense alleged.


       The property includes, but is not limited to:

       (a)    Taurus,     .38 caliber revolver,                 serial number ZL13680                     I.
                                                                                                          i




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t   •   1   ..




                          If    any of      the    above-described forfeitable     property,       as   a

                 result of any act or omission of the defendant,

                   (1)         cannot be located upo11 the exercise of due diligence;

                   (2)         has   been    transferred or sold to,         or deposited with,         a

                               third person;

                   ( 3)        has been placed beyond the jurisdiction of the Court;

                   ( 4)

                   (5)

                               subdivided without_difficulty;
                                                               '
                 it is         the . intent of      the United States, . pursuant    to Title 2],
                                                                                          .             I
                 United States           Code,     Section 853 (p),   to   seek forfeiture       of any
                                                                                                        I
                 other property of                the defendant up    to   the value of       the abov;e

                 forfeitable property.

                                                       A TRUE BILL:



                                                       FORE PERSON

                                                       DATE:

                 THOMAS G. WALKER
                 United States Attorney


                     ~
                 BY: LAWRENCE J. CAMERON
                                                          ..




                 Assistant United States Attorney




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